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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 20-61025-civ-Altman/Hunt

  NOUREDDIN MAHMOUD ABDULAAL,

                 Plaintiff,
  v.

  BEAUTY DISCOUNT ZONE INC, A&A HAIR &
  BEAUTY INC D/B/A DISCOUNT BEAUTY SUPPLY,
  DALIA BEAUTY SUPPLY, INC. D/B/A BEAUTY
  DISCOUNT, WIGS N BUNDLES INC, MUNZER M.
  ALATTAR A/K/A MOUNZER ALATTAR, OMAR ALATTAR,

              Defendants.
  ___________________________________________________/

   ELECTION AND CONSENT OF ASSIGNMENT OF ALL MATTERS, PROCEEDINGS
      AND MOTIONS THROUGH AND INCLUDING TRIAL TO UNITED STATES
                         MAGISTRATE JUDGE

         In accordance with the provisions of 28 U.S.C. § 636(c), the parties to the above-captioned

  civil matter, by and through undersigned counsel, hereby voluntarily elect and consent to the

  assignment of all matters, proceedings and motions to United States Magistrate Judge, including

  Trial by a jury and the entry of final judgment thereon.

                                      Respectfully submitted by,

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 /s/ Elliot A. Kozolchyk                             /s/ Daniel E. Tropp
 Elliot A. Kozolchyk, Esq.                           Daniel E. Tropp, Esq.
 Bar No.: 74791                                      Bar No.: 948128
 Counsel for Plaintiff                               Counsel for Defendants
Case 0:20-cv-61025-PMH Document 26 Entered on FLSD Docket 07/23/2020 Page 2 of 2




                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
  on July 23, 2020 with the Clerk of Court using CM/ECF along with having served all counsel of
  record or pro se parties identified on the service list incorporated herein in the manner specified,
  either via transmission of Electronic filing generated by CM/ECF or in some other authorized
  manner for those counsel or parties not authorized to receive electronically Notice of Electronic
  Filing.
                                                 /s/ Elliot A. Kozolchyk
                                                 Elliot Kozolchyk, Esq.

                                           SERVICE LIST

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  Counsel for Defendants
